
PER CURIAM.
William Scott Sours appeals the district court’s1 order granting summary judgment in favor of defendants on his 42 U.S.C. § 1983 complaint claiming interfer*1087ence with his first amendment right to freely exercise his religious beliefs. Sours alleged that defendants prohibited him from observing his “Vow of the Nazarite” by requiring him to cut his hair in accordance with Missouri Department of Corrections rules.
We review de novo a district court’s grant of summary judgment. United States ex rel. Glass v. Medtronic, Inc., 957 F.2d 605, 607 (8th Cir.1992). Having carefully reviewed the record, we conclude the district court correctly granted summary judgment. See Iron Eyes v. Henry, 907 F.2d 810 (8th Cir.1990) (Missouri prison hair-grooming regulation does not unconstitutionally infringe on prisoners’ free-exercise rights); see also Campbell v. Purkett, 957 F.2d 535 (8th Cir.1992); Kemp v. Moore, 946 F.2d 588 (8th Cir.1991) (per curiam), cert. denied, — U.S. —, 112 S.Ct. 1958, 118 L.Ed.2d 560 (1992). We are bound to follow these decisions. Brown v. First Nat’l Bank in Lenox, 844 F.2d 580, 582 (8th Cir.), cert. denied, 487 U.S. 1260, 109 S.Ct. 20, 101 L.Ed.2d 971 (1988).
Accordingly, we affirm.

. The Honorable William L. Hungate, Senior United States District Judge for the Eastern District of Missouri, now retired.

